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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

CONSUMER FINANCIAL PROTECTION
BUREAU,

                       Plaintiff,
                                                   C.A. No. 17-1323-GMS
               v.

THE NATIONAL COLLEGIATE STUDENT
LOAN MASTER TRUST, et al.,

                       Defendant.

                       WILMINGTON TRUST COMPANY’S REPLY
                       IN SUPPORT OF MOTION TO INTERVENE

         Wilmington Trust Company (“WTC”), by and through its undersigned counsel,

respectfully submits this reply in support of its Motion to Intervene (the “Motion”).1

                                       INTRODUCTION

         The Consumer Financial Protection Bureau (the “CFPB”) inexplicably opposes the

Motion based on the mistaken belief that WTC’s involvement is not necessary for the Trusts to

enter into the Proposed Consent Order.2 (D.I. 54 at 2 (opposing intervention because WTC does

not “claim to be owners of the Trusts, or to have the power to settle litigation on the Trusts’

behalf”).) This argument reflects a fundamental misunderstanding of how the Trusts function


1
  Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
(D.I. 31.)
2
   The CFPB also argues that “[n]o movant has articulated a valid reason for why the Bureau
should not be able to obtain the relief contained in the Proposed Consent Judgment on behalf of
consumers.” (D.I. 54 at 3.) A motion to intervene is not, however, the appropriate mechanism
by which to raise substantive oppositions to the merits of the underlying dispute. Rather, the
entire purpose of intervention is to obtain the opportunity to participate in the disposition of the
underlying litigation. That notwithstanding, WTC did state in its motion to intervene that it
previously determined that the CFPB Consent Order, which is substantially similar to the
Proposed Consent Judgment, would violate the Trusts’ Indentures and therefore could not be
validly entered into on behalf of the Trusts, thus precluding the relief sought by the CFPB in this
case.
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and WTC’s unique role in the operation of the Trusts. For the reasons set forth in the Motion

and below, the Court should grant WTC’s motion to intervene because the Trusts cannot act,

other than through WTC as the Owner Trustee. As the Owner Trustee, WTC has an important

interest in the underlying litigation – the right and the obligation to cause the Trusts to act under

appropriate circumstances – that will be impaired if WTC is not permitted to intervene. The

CFPB provides no valid legal or factual basis to deny the Motion, and it cannot ignore the critical

interest of the Owner Trustee in this action. The Court should grant the Motion.

                                           ARGUMENT

       The parties agree that to intervene as a matter of right under Federal Rule of Civil

Procedure 24(a)(2), WTC must show:

               1) a timely application for leave to intervene, 2) a sufficient
               interest in the underlying litigation, 3) a threat that the interest will
               be impaired or affected by the disposition of the underlying action,
               and 4) that the existing parties to the action do not adequately
               represent the prospective intervenor's interests.

Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d 216, 220 (3d Cir. 2005). The CFPB does not,

because it cannot, challenge that WTC’s Motion is timely and that the existing parties do not

adequately represent WTC’s interests.         Instead, the CFPB attempts to preclude WTC’s

intervention by challenging the sufficiency of WTC’s interest in this litigation (prong 2) and the

threat that this litigation poses to that interest (prong 3). For the following reasons, the CFPB is

wrong, and the Court should grant the Motion.




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         A.     WTC, as Interim Owner Trustee,3 Maintains an Interest in Ensuring the
                Parties to this Action Comply with the Deal Documents.

         As set forth in the Motion, WTC’s role as Owner Trustee of the Trusts demonstrates a

sufficient interest in this litigation to justify intervention. Through this action, the CFPB and,

purportedly the Trusts,4 jointly seek the entry of the Proposed Consent Judgment. (D.I. 1.)

Neither the CFPB, nor the Trusts (acting through conflicted counsel purportedly representing the

Trusts, but who are directed exclusively by, and appear to be serving only the interests of, the

Owners) explain how the Trusts have the authority to execute the Proposed Consent Judgment

without the involvement of WTC as the Owners Trustee.5 The Trusts cannot execute the

Proposed Consent Judgment other than through proper directions6 provided to WTC (or by Court

order) and WTC’s intervention in this action is necessary and appropriate.

         The Trust Agreements confirm that, except as may be authorized in the Trust Related

Agreements (i.e. which provide for Servicers to act on behalf of the Trusts), the Trusts may only


3
   WTC resigned as Owner Trustee on July 20, 2017. Pursuant to the terms of the Trust
Agreements, that resignation does not take effect until a duly-qualified successor owner trustee is
seated or a court of competent jurisdiction accepts WTC’s resignation. (D.I. 31, Ex. A at §
12.01.) Because the Owners have failed to appoint a successor owner trustee, WTC moved the
Delaware Court of Chancery to appoint a successor owner trustee. Until the Court (or the
Owners) appoints a successor owner trustee or accepts WTC’s resignation, WTC continues to
serve, on an interim basis, as the Trusts’ sole Owner Trustee.
4
   WTC did not authorize the Trusts to take such action and WTC does not believe that any other
individual or entity, including the purported counsel for the Trusts, have the authority to cause
the Trusts to take such action.
5
   Indeed, in their first attempt to bind the Trusts to a settlement with the CFPB, the Owners
purported to direct WTC as Owner Trustee to execute the Consent Order. (D.I. 31 at 3-4.) After
WTC declined to follow the CFPB Instruction because WTC believed that it violated the Trust
Agreements and the Trust Related Agreements, the CFPB initiated this action as an end-run
around WTC’s declination. (Id.) These facts confirm that WTC has a significant interest in this
litigation that the existing parties – the Trusts and the CFPB – cannot protect.
6
  As stated in the Motion, the Trust Agreements prohibit the Owners from directing the Owner
Trustee to take any action that would contravene the Trust Agreements and Trust Related
Agreements; and the Owner Trustee has no obligation to follow any such improper direction, if
given. The Owners cannot skirt this obligation by directing counsel to take actions that they
cannot properly direct the Owner Trustee to take.
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act through the Owner Trustee. Section 2.03 of the Trust Agreements provides that the Trusts

“will act solely in [their] own name and the Owner Trustee or other agents selected in

accordance with this Agreement7 will act on behalf of the Trust[s] subject to direction by the

Owners as provided herein . . .” (D.I. 31, Ex. A at § 2.03(b)(i) (emphasis added).) The Trust

Agreements further provide that the Trusts “shall conduct [their] business at the office of the

Owner Trustee.” (Id. at § 2.03(b)(iv).) The Owner Trustee holds the Trusts’ property, subject to

the obligations set forth in the Trust Agreement and the Trust Related Agreements. (Id. at §

2.05.) All payments made to and from the Trust must be made by the Owner Trustee on behalf

of the Trust. (Id. at § 2.07.) The Owners may not cause the Trusts to act directly; rather, they

have the right to direct the Owner Trustee to act – but only if the directed action complies with

the Trust Agreements and the Trust Related Agreements. (Id. at §§ 4.01 and 4.02.) The CFPB

acknowledges as much. (D.I. 54 at 4-5 (recognizing that the Trusts do not have any employees,

but rather act through, among others, the Owner Trustee).) Despite that the Trusts cannot

approve the Proposed Consent Judgment without the involvement of WTC as Owner Trustee, the

CFPB nevertheless, inexplicably, opposes WTC’s efforts to intervene in this action.

         The CFPB does not dispute that WTC is the Owner Trustee or that the Trusts must act

through the Owner Trustee. The CFPB does not cite any authority on which the Court could

conclude that an Owner Trustee, which is the sole trustee of a Delaware statutory trust, lacks a

significant interest in litigation involving the statutory trust for which it serves as Owner Trustee.

Instead, the CFPB only argues that, since the underlying action seeks to remedy certain conduct

by servicers of the Trusts, and WTC is not a servicer of the Trusts and does not play a role in

7
  No other agents have been selected in accordance with the Trust Agreements with the power or
authority to cause the Trusts to assent to the Proposed Consent Judgment or otherwise to cause
the Trusts to compromise the claims raised by the CFPB in this action. The only way for the
Trusts to so act would be through the Owner Trustee.
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servicing the Trusts, WTC has no interest in this action. As set forth above, this argument

ignores WTC’s important role in the administration of the Trusts. The Trusts are directly

impacted by the entry of the Proposed Consent Order, which the CFPB acknowledged by naming

them as defendants in this action.      WTC’s role as Owner Trustee, therefore, justifies its

intervention under Rule 24.

         B.     The CFPB Action Threatens to Impair WTC’s Interests By Requiring the
                Trusts to Act Other Than Through the Owner Trustee.

         The CFPB Action impairs WTC’s interests as Owner Trustee in at least two ways. First,

the CFPB Action purports to authorize the Owners (or their purported counsel) to act on behalf

of the Trusts to the detriment of the Owner Trustee, which has the contractual right and the

obligation to act, when appropriate, on behalf of the Trusts.8 Second, the CFPB Action threatens

to disrupt the payment and priority schemes set forth in the Trust Agreements and Trust Related

Agreements. Approving the Proposed Consent Order, without the Owner Trustee, would violate

contractual protections benefitting WTC that prevent the Trusts from taking action (through the

Owner Trustee) in violation of the Trust Agreement and Trust Related Agreements.9 PPDG,

LLC v. Templeton, No. 2:13-CV-768-FTM-29CM, 2014 WL 5780612, at *2 (M.D. Fla. Nov. 5,

2014) (permitting a party to intervene under Rule 24(a)(1) to protect its contractual rights). The
8
   The CFPB suggests, without support, that the Owners may settle litigation on behalf of the
Trusts. (D.I. 54 at 25.) This statement is inaccurate. As set forth above, the Trusts may only act
through the Owner Trustee and nothing in the Trust Agreements authorizes the Owners to settle
or compromise litigation themselves. Rather, the Trust Agreements give the Owners the right to
direct WTC to enter into settlements (if the settlement terms are consistent with the Trust Related
Agreements) and prohibit WTC from settling litigation on behalf of the Trusts without the
consent of the Owners. (D.I. 31, Ex. A at § 4.01(b)(i).) Here, because WTC declined the
Owners’ instruction to sign the CFPB Consent Order as contemplated by the Trust Agreements,
the CFPB seeks to ignore the requirements of the Trust Agreements and to exclude WTC from
this action.
9
  The CFPB criticizes WTC for failing to prove that the Proposed Consent Order will violate the
Trust Agreements or the Trust Related Agreements. (D.I. 54 at 25-26.) But WTC does not have
any such burden. Rather, WTC must demonstrate, as it has, that it possesses rights in the subject
matter of the litigation that cannot be protected without intervention.
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Proposed Consent Order, if entered, would materially and adversely disrupt WTC’s contractual

rights under the priority payment scheme for Owner Trustee expenses in the Indentures. Jet

Traders Inv. Corp. v. Tekair, Ltd., 89 F.R.D. 560, 570 (D. Del. 1981) (recognizing that

impairment sufficient to intervene occurs in situations where a discrete, distinguishable fund

exists and where the intervenor has a legally enforceable right to access such fund). Given other

pending litigation concerning WTC’s resignation and improper directions from the Owners,

WTC has a direct and unprotected interest in preserving its heavily negotiated priority payment

right that the CFPB seeks to disrupt in this action.

       That WTC has certain indemnification rights does not adequately protect either of these

impaired interests. Even if it would not face any threat of liability from a breach of the Trust

Agreements or Trust Related Agreements, WTC has an independent right – as a party to such

agreements – to protect against adverse consequences from any such breach. Modifying (or

causing the Trusts to breach) the heavily negotiated secured finance transaction contract terms

memorialized in the Trust Agreements and Trust Related Agreements to implement the Proposed

Consent Order would impair WTC’s ability to administer the Trusts in the future, exposing WTC

to various conflicting obligations and potential liabilities from numerous deal parties. Moreover,

any indemnification rights WTC may have do not address, or remedy in any way, the threat to

the priority payment scheme for Owner Trustee expenses presented by the Proposed Consent

Order. This action threatens WTC’s interests as Owner Trustee in clear and identifiable ways

and the Court should permit WTC to intervene.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant WTC’s motion to intervene and permit

WTC to intervene in this matter for so long as WTC serves as Owner Trustee of the Trusts.



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November 20, 2017                    BAYARD, P.A.

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